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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 Michael Armstrong,                                       Civil No. 21-662 (DWF/ECW)

                      Plaintiff,

 v.                                                         ORDER FOR DISMISSAL
                                                                WITH PREJUDICE
 Citibank, N.A,

                      Defendant.



        Based upon the Stipulation for Dismissal filed by the parties on January 26, 2022,

(Doc. No. [6]),

        IT IS HEREBY ORDERED that this action is DISMISSED WITH

PREJUDICE and on the merits, with each party to bear its own costs and attorneys’

fees.


Dated: January 27, 2022                   s/Donovan W. Frank
                                          DONOVAN W. FRANK
                                          United States District Judge
